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                        IN THE UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF IDAHO


 UNITED STATES OF AMERICA,                            Case No. 4:12-cr-00180-BLW

               Plaintiff,
 vs.                                                  ORDER FOR INTERLOCUTORY
                                                      SALE OF PROPERTY
 ALLEN W. NAGEL, et al.,

               Defendant.


       Based upon the Stipulation for Interlocutory Sale of Property of the United States of

America, Allen W. Nagel, Stephanie D. Nagel, and Tracy L’Herisson dated August 5, 2013 (Dkt

No. 158), and for good cause shown,

       IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that:

       1. The Stipulation for Interlocutory Sale of Property for sale of the property set forth

          therein is hereby APPROVED and GRANTED.

       2. The sale of the real property commonly known as 1440 Blue Lakes Blvd., Twin Falls,

          Twin Falls County, Idaho (Tax Parcel RPT4281001001AA), including improvements

          and fixtures thereon and appurtenances thereto, which real property is referred to

          hereafter as “the Subject Property,” and is more particularly described as follows:

                  LOTS 1 AND 2 AND THE WEST 12 FEET OF LOT 3 IN BLOCK 1 OF
                  PHEASANT ACRES SUBDIVISION, ACCORDING TO THE OFFICIAL
                  PLAT THEREOF, FILED IN BOOK 7 OF PLATS AT PAGE(S) 39,
                  OFFICIAL RECORDS OF TWIN FALLS COUNTY, IDAHO

          is hereby ordered, said sale to be in accordance with the terms set forth in the

          Stipulation for Interlocutory Sale of Property.



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      3. At closing of such sale pursuant to the Stipulation for Interlocutory Sale of Property,

         and expressly contingent upon the payment of $4,500.00 in full to the United States

         as set forth therein, the buyer will take title to the Subject Property free and clear of

         any forfeiture interest of the United States.

      4. The parties shall bear their own costs and fees herein.




                                                    DATED: August 6, 2013


                                                    _________________________
                                                    B. Lynn Winmill
                                                    Chief Judge
                                                    United States District Court




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